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         EXHIBIT 3
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           -        ~             ~                 /~1/17
    1 /                  UN     ED STATES BANKRUTPCY COURT

    2                  FOR THE SOUTHERN DISTRICT OF OHIO

    3                         WESTERN DIVISION AT DAYTON

    4

    5
    6      In re:     Tagnetics,    Inc.            Case No.    19-30822

    7                                               Judge Humphrey

    8                                               Chapter 7

    9

   10                                 APPEARANCES
   11
   12      Stephen B. Stern, Esq. and Robert Kracht,               Esq. on
   13      behalf of the Debtor, Tagnetics, Inc.:
   14
    15

    16

    17

    18                        BE IT REMEMBERED the above-entitled
    19     hearing came on to be heard on the 25th day of
   20      October,    2019 before the Honorable Guy R.            Humphrey,
   21      Judge via telephone.
   22

   23
   24

   25                         TRI-COUNTY COURT REPORTING
   26                                (513)   732-1477




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    1                   COURTROOM DEPUTY:          Gentlemen,    the Judge
    2      is now on the line,         case number 19-30822,
    3      Tagnetics,     Inc.    May I have appearances please for
    4      the record?
    5                   MR.   KRACHT:     Robert Kracht for Tagnetics.
    6                   MR.   STERN: Stephen Stern for Tagnetics.
    7                   THE COURT:       Is Mr.    Kayser there?
    8                   MR.   KAYSER:     Mr.    Kayser,    pro se.
    9                   THE COURT:      Okay,     is Mr.    Hager there?
   10                   MR.   HAGER:     John Hager,       pro se.
   11                   THE COURT:      And I think I heard Mr.
   12      Earley.
   13                   MR.   EARELY:     Yes.     Ron Earley,       prose.
   14                   THE COURT:       Great.     Thank you,       everybody.
   15      We appreciate you all being available for this
   16      telephonic rendering of the Court's oral decision
   17      following the evidentiary hearing we had last
   18      Friday at the ... at the court.           As I think I advised
   19      you at the conclusion of the hearing last week,                    we
   20      frequently render oral decisions and I frequently
   21      do so be telephone like this to help keep matters
   22      moving along.         But I assure you we put as much work
   23      and analysis into the oral decisions as we do to
   24      the written decisions.          We just save a little bit
   25      of time in not having to cross all the T's and dot



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                         ,J) e.
           all the I's as would in a written issued decision.
                              (\
    2      So with that being said the Court is prepared to
    3      render it's oral decision on the contested matter
    4      involving Tagnetics' Motion to Enforce Settlement
    5      Agreement and the Petitioner and Creditors'
    6      Response to that Motion for which we had the
    7      hearing last Friday.
    8                    This is the decision of the Court and the
    9      following constitute the Court's findings of fact
   10      and conclusions of law in accordance with
   II      Bankruptcy Rule 7052. This proceeding arises in a
   12      case referred to this Court by the standing order
   13      of reference entered in this district and is
   14      determined to be a core proceeding pursuant to 28
   15      U.S.C.   §   157 (b) (2) (A)   and         (0).   The Court is
   16      authorized to enter final                  judgment with respect to
   17      this contested matter.                In reaching its
   18      determinations the Court considered the demeanor
   19      and credibility of the witnesses who testified,
   20      being the petitioning creditors, Ken Kayser,                     Ronald
   21      Earley and Jon Hager and Stephen Stern,                   counsel for
   22      Tagnetics.      The Court found all the witnesses to be
   23      credible.      The Court also examined and considered
                                          "! /li:I
   24      all exhibits admitted          ~          court filings and the
   25      written memoranda and arguments of counsel.                      The



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           exhibits being admitted were Petitioning Creditors'
    2      Exhibits 3,           4 and 5.     And Tagnetics'    Exhibits A
    3      through D and F through I.               The Court did not admit
    4      Petitioning Creditors'              Exhibits 1 and 2 and
    5      Tagnetics'           Exhibit E.
    6                          In the event of an appeal following the
    7      Court's review of the transcript of this oral
    8      decision,           a complete transcript of the Court's oral
    9      decision will be entered as a separate filing on
   10      the docket of this case.               In that event,     without
   II      changing its final             judgment the Court reserves the
   12      right to add,           alter or delete any language,         grammar
   13      or punctuation in this oral decision so that it
   14      correctly reflects the Court's intention in
   15      determining this matter.
   16                          The Court will now list a series of
   17      citations to legal authorities,               some of which will
   18      be cited in abbreviated form during the remainder

   19      of this oral decision.               Cogent Solutions Group,

   20      LLC.      v.   The Hyalogic,       LLC at 712 F.    3d 305.

   21      Williams v.           Ormsby at 966 NE 2d 255.        Bamerilease

   22      Capital Corp.           v.   Nearburg at 958 F.     2d 150.

   23      NiY.lefa...-   v.    Osborn at 711 NE 2d 726.        Re/Max Intern,

   24      Inc.      v. Realty One, Inc.         at 271 F.    3d 633.

   25      Brockwell v.           Beachwood City School District, case



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    1      number ~04-CV-1155 at 2008 WL 918266.                   Sabatine BK
    2      Development, LLC v.        Fitzpatrick Enterprises,              Inc.
           at 85 NE 3d 1127.         In re:
                                               ./,/]
                                                 ./, 1:qtwk
                                                      [a S~aek   at 324 B.R.
    3
    4      641 •    216 Jamaica Avenue, LLC v.          S&R Playhouse
    5      Realty Company v S & R Playhouse Realty Company at
    6      540 F.    3d 433.     Nee v.   State Industries,          Inc.    at 3

    7      NE 3d 1290.      Ohio State Bar Association v. Martin
    8      at 886 N.E.     2d 827.     Rohrer Corp.      v.      Dane-Elec Corp
    9      USA at 482 F. Appx.        113.    And Wilson v.         Prime
   10      Source Healthcare of Ohio at 2018 WL 1127653.
   11                   The Court will now describe the
   12      procedural and factual background related to this
   13      contested matter.         This matter is before the Court
   14      on Tagnetics' Motion to Enforce a Settlement
   15      Agreement and the Response from Remaining
   16      Petitioning Creditors.            See documents 101 and 106
   17      under the docket of this case.             This case came to
   18      the Court based on an involuntary petition filed by
   19      the Remaining Petitioning ... Petitioning Credi tors,
   20      see document one\         and certain other           Petitioning
   21      Creditors who previously settled with Tagnetics.
   22      The remaining prose Petitioning Creditors,
   23      specifically, Kenneth Kayser,           Ronald Earley and
   24      Jonathan Hager and Tagnetics indicated to the Court
   25      on July 26th,       2019 that they reached a settlement.



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           However,    the parties subsequently disagreed as to
    2      whether the matter had truly been settled and if so
    3      what the terms of the settlement were.                In its
    4      Motion to Enforce the Settlement Agreement,
    5      Tagnetics argu~that the parties reachJ.a settlement
    6      agreement with the essential terms by email on July
    7      26th,   2019 and these terms were accepted by the
    8      Petitioning Creditors.          And now the Petitioning
    9      Creditors seek to include additional terms that
   10      were not part of the agreement.             The Petitioning
   11      Creditors argue that because the terms they wanted
   12      included were mentioned in their first Settlement
   13      Proposal on July 20th,         2019 which they titled as
   14      their Final Offer to Tagnetics~             4nd Tagnetics did

   15      not dispute these terms,          the terms were accepted
   16      and the remaining negotiations were to try to reach
   17      agreement on an acceptable payment schedule.                   The
   18      Petitioning Creditors argue that because these
   19      terms had already been accepted it was not
   20      necessary that they be stated in the July 26th list

   21      of key terms.       Based on this divide between the
   22      parties, Tagnetics filed its Motion to Enforce the
   23      Settlement the parties agreed to by email on July
   24      26th.    The parties presented evidence on their
   25      respective positions at an evidentiary hearing on



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           October 18th,      2019 and the Court is now prepared to
    2      render its decision on the contested matter.
    3                   The Court will now state the statement of
    4      the law and application of the facts to the law

    5      related to this contested matter.             A Settlement
    6      Agreement is a contract and as a contract the
    7      validity and enforcement of it is governed by state

    8      law.   See Cogent Solutions at 309.            The state law
    9      that applies to a contract formation issue is
   10      determined by looking at where the agreement was

   11      created.     See Bamerilease at 152.           Tagnetics is an
   12      Ohio corporation and one of the Remaining
   13      Petitioning Creditors who negotiated the agreement
   14      resides in Ohio.        This case is pending in the
                                                            I
   15      Southern District of Ohio.           Tagnetics motion cites
   16      and applies to Ohio law. Accordingly,                the Court
   17      will apply Ohio law in determining the
   18      enforceability of the asserted settlement
   19      agreement.      Under Ohio law a valid contract
   20      includes offer,      acceptance,     contractual capacity,
   21      consideration and a manifestation of mutual assent.
   22      See Williams at 258.         When determining the validity
   23      of a settlement agreement,          the Court must determine
   24      if the parties have assented to all material terms
   25      of an agreement.        See Re/Max Intern National at



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           64 6.      If the parties have had a meeting of the
    2      minds on the material terms of the agreement,                          then
    3      the Court may enforce the Settlement Agreement.
    4      See Brockwell at page 6.                 Additionally,     a Court
    5      must focus only on the objectv~ actions of the
    6      party,      rather than the parties' subjective belief
                      u11().er
    7      because contract lawJCourts properly consider only
    8      objective manifestations of intent.                     See Nibbler at
    9      733.       Further,   secretly held unexpressed Jlntent is
   10      not relevant to whether a contract is formed.                           A

   II      response to an offer that contains a change of
   12      terms,      a new term or some type of additional
   13      conditional language is not an acceptance of that
           offer but is instead a counter~offer.
                                                                       ~lR/i'fl'l.
                                                                     See no at
   14
                                  /./qi isVl4/.:.       .....
   15      1133.       See also Itt?locheck a~ 9 ... 644.            Ohio
   16      contract law states that a counteroffer operates to
   17      reject and extinguish all previous offers,                       thereby
   18      preventing the formation of any contract.                        See
            J./4/: sh41(
   19      H+Jocbae- at 644.            The Petitioning Creditors argued
   20      that the only portion of the July 20th email
   21      settlement proposal that was being negotiated in
   22      additional emails was the schedule of payments,
   23      4nd that the other terms set out in their initial
   24      proposal were assumed to remain.                     See document 106.
   25      Tagnetics argues that the only terms to be included



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           in the Settlement Agreement were those agreed to as
    2      key terms in the July 26th email exchange.                       See
    3      document 101. The July 20th,              email from Ken Kayser
    4      on behalf of the Petitioning Creditors contained
    5      the following terms which were not referenced in
    6      the July 26th key terms:             ftA mutual release of all
    7      issuesqrising from our employment by Tagnetics,                             our
    8      role as Directors of Tagnetics and our
    9      participation in the Petition for Involuntary
   10      Bankruptcy
                     1
                        an acknowledgment of Kayser's and
                                                          >~If'
   11      Earley's stock ownership, confirmation of owner pf
                                                                                  11
   12      shares and unrestricted of shareholder rights
                                                                             1
   13      Qgreement that all provision of our contracts,
   14      including non-compete have expired or are
   15      cancelled/ Bcknowledgement of an outstanding loan
   16      from Ron Earley to Tagnetics,              principal plus
   17      interest to be paid upon sale, which was to be
   18
            defia~te.
           d1,r1  e of
                                 .
                         T~§Rctico~
                                            .    .
                                         Principal 1s
                                                         .     $
                                                                   30, 0 00 and

   19      current balance is approximately $60,000.
                                     KVl-
   20      Acknowledgement of Mtt:l Core Technology license,
   21      $250,000 to be paid upon transfer or sale or
   22      license of Tagnetics shilf1¾~echnology or sale of
   23      the company,      acknowledgement of $315,000 of
   24      deferred salary to be paid to Kayqer upon the sale
                                                      evflli
   25      of Tagnetics or other liquidity."                   That's the end



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           of the terms of the Petitioning Creditors I believe
    2      were   Ii@ •• .   were included as part of the settlement
    3      of the matter which Tagnetics disputes.
                                                                              1
    4                    In response to the Petitioning Creditors
    5      July 20th offer of settlement, Stephen Stern,
    6      acting as counsel for Tagnetics,             rejected this
    7      proposal and suggested a         ~g~~~        for a different
    8      proposal.         His July 23rd email sent at 10:46 a.m.
    9      stated,    "While I and the Tagnetics'           team appreciate
   10      the overture to try to reach a negotiated
   11      resolution,        the demand you put forward is not
   12      realistic.n         Earley then responded with another
   13      offer through an email sent at 1:34 p.m. on July
   14      23rd stating,        "Here is our offer after your email
   15      this morning.         Let me know if there is any
   16      interest.n         Stern responded with a counteroffer
   17      which Earley rejected soon after stating,                "No
   18      chance."          See Earley email sent July 24th.
   19      Following this rejection Stern implored the
   20      Petitioning Creditors to respond with a
   21      counteroffer through an email he sent on July 25th
   22      at 12:42 p.m.         On the same day Earley responded
   23      with a counterproposal.           See Earley July 25th email

   24      sent at 1:25 p.m.         Stern responded to that email
   25      through an email sent at 8:24 a.m. on July 26th



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     1     stating that a high initial payment to each of the
     2     creditors would not be possible.              Following this
     3     email exchange there was a phone call between the
    4      parties during which an apparent agreement was
    5      reached.      Stern followed up this phone call with an
    6      email detailing the key terms which were reached
     7     during the telephone conference. And he asked for
     8     each of the creditors to reply confirming this
     9     agreement.     See Stern July 26th email sent at 3:27
    10     p.m.    Hager replied and confirmed agreement with
    11     the terms set forth in the email stating,                "I am
    12     responding for Kayser,         Earley and Hager" saying "we
    13     agree to the terms set forth as documented above.
    14     See Hager July 26th email sent at 3:56 p.m.                  Hager
    15     then sent an additional email restating the terms
    16     laid out in Stern's email and again confirming
    17     agreement upon those terms.            See July,     see Hager
    18     July 26th email sent at 3:58 p.m.              Less than an
    19     hour after this email Hager sent another email
   20      confirming a payment schedule stating,               "We are
   21      confirming the following payment schedule and
   22      amount as part of this agreement."               See Hager July
   23      26th email sent at 4:35 p.m.             The key terms stated
   24      in the July 26th emails were as follows:                 payment
   25      of $90,000 total,        $30,000 to each Petitioning



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    1      Creditor within three days of a fully executed
    2      agreement.      The remaining schedule of payments as
    3      you propose below,        except in twelve and eighteen
    4      months,    instead of six months and twelve months.

    5      Full mutual releases,         no carveouts.
    6      Dismissal/withdraw"lof claims by each of you to be

    7      filed within one day of receiving payment.                 See

    8      July 26th emails between the parties.                The
    9      Petitioning Creditors'         argument hinges on the
   10      contention that the only term being negotiated
   11      through the described emails were the details of
   12      the payment schedule.         However,    the first email
   13      proposal on July 20th was rejected by Stern on July

   14      23rd.     Therefore,    the email exchanges which
   15      followed were all counteroffers or proposals and
   16      the only terms included in these counteroffers were
   17      those listed in these specific emails. After the
   18      July 23rd rejection a clean slate began with regard

   19      to terms.      The terms that the creditors argue were
   20      assumed to be included in the July 20th proposal
   21      were never mentioned again during the later email
   22      conversations.       The parties set out their key terms
   23      in writing with the July 26th emails.               The    terms1he
   24      creditors now wish to argue are included were
   25      noticeably absent from the key terms list. Also,



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           the inclusion of the specific payments to the
    2      Petitioning Creditors with a full mutual release
    3      with no carveouts provision necessarily excludes
    4      any other form of monetary recovery by the
    5      Petitioning Creditors from Tagnetics,              such as any
    6      personal loans made by the Petitioning Creditors to
    7      Tagnetics or any deferred salary or royalty or
    8      license fees owed by Tagnetics to any of the
    9      Petitioning Creditors.          Any such obligations were
    10     eliminated as a result of the Petitioning
   II      Creditors'     agreement for the full mutual release.
   12      This detailed description of the emails from July
    13     20th through July 26th is important to show the
    14     numerous rejections and then finally an acceptance
    15     and memorialization in writing of agreed key terms.
    16     The Court has a duty to analyze such contract
    17     formation issues from an objective standpoint.                   The
    18     Court will not look at the subjective intent or
    19     beliefs of a party but rather on the facts set
   20      forth.     See N i ~ at 733.           Ohio law does not
   21      require contracting parties to share a subjective
   22      meeting of the min~s to establish a valid contract.
   23      Otherwise,     no matter how clearly the parties wrote
   24      their contract,       one party could escape its
   25      requirements simply by contending it did not



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    I      understand them at the time.            See 216 Jamaica
    2      Avenue at page 440.         Following an objective
    3      approach,     if a Court determines that the parties
    4      have had a meeting of the minds on the material
    5      terms of a settlement agreement,             then it may
    6      enforce such an agreement.            See Re/Max
    7      International at 646 and Brockwell at page 6.                   Here
    8      looking at the objective intent of the parties
    9      through email exchanges,          the parties came to an
   10      agreement as to the material terms on July 26th
   II      through a phone call and then memorialized these
   12      terms through email. Confusion as to the meaning of
   13      certain terms does not itself invalidate a
   14      contract.      A meeting of the minds occurs when there
   15      is agreement on the essential terms.               In a contract
   16      that is not for goods,         the essential terms are
   17      generally the parties to the contract and its
   18      subject matter.        See N i ~ at page 734.             The
   19      Court is sensitive to the fact that the Petitioning
   20      Creditors are prose and that based on the
   21      evidentiary hearing,        these parties subjectively
   22      believe that the additional terms from the July
   23      20th email were still in play during the entirety
   24      of the negotiations.          The Court found the
   25      Petitioning Creditors credible on the point.



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           However,          the standard for determining whether these
    2      parties reached a meeting of the minds is .:{1'1
    3
              .     . ve..
           obJectu,1se.
                             qn,e.,   And based on an objective view of
    4      the emails between the parties,               the terms of the
    5      agreement were reached on July 26th,                  2019.
    6                        The Court will now discuss the issue of

    7      Mr.    Earley's authority to negotiate.                The
    8      Petitioning Creditors also contend that Earley only
    9      had authority to negotiate the payment schedule
   10      with the understanding that the remainder of the
   11      terms of the July 20th proposal was                  J1,'{l~~~-    See
   12      document 106.                Therefore,   under this logic any
   13      negotiations with regard to terms other than the
   14      payment schedule cannot be valid.                Apparent
   15      authority comes into play when,               one,    the principal
   16      held the agent out to the public as possessing
   17      sufficient authority to act on his behalf.                        Two,   a
   18      person dealing with the agent knew these facts.
   19      And,    three,        the person acting in good faith had
   20      reason to believe that the agent possessed the
   21      necessary authority.               See Nee, N-e-e at page 1308,
   22      quoting Ohio State Bar Association at page 834.
   23      Here,    when Earley responded to emails from Stern he
   24      was acting as an agent for the other prose
   25      parties.           Indeed,    Kayser made it clear he left the



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    1        details of these negotiations to Earley.               Any limits
    2        on Earley's power to negotiate were never
    3        communicated to Tagnetics and the petitioning
    4        creditors never presented any evidence to suggest

    5        Earley lacked authority.         Indeed,        all Tagnetics was
    6        aware of was each of the parties were copied in

    7        these emails.     Further,    each of the Petitioning
    8        Creditors were copied on each of the emails from

    9        Earley and Hager to Stern.          And if they disagreed
   10        with the way the negotiations were taking place,
   11        each could have each made such an objection clear.
   12        Therefore,    the asserted limited authority of Earley
   13        to negotiate would not invalidate any terms agreed

   14        to July 26th.
                                                                        I';
   15                     The Court will no'Wdiscuss the term full
                                                        11
   16        mutual release with no carveouts.               In the agreement
   17        the parties agreed to full mutual releases,               no
   18        carveouts. What exactly this means to each party
   19        has been in dispute and was a central point of
   20        contention during the evidentiary hearing.               The
   21        Court determines that a full release with no
   22        carveouts by its ordinary meaning would include all
   23        liability between the parties,           including salary,
   24        benefits and loans.       This Court's interpretation of
         U      II   Q                           ij
   25        full in full mutual releases is that it covers all




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     1     obligations of the parties,                  whether it be salary,

    2      expenses,           license fees or any other monetary
                                                                                     ,ue
     3     obligation of any nature which the parties owed or
                                                                                      I'/
    4      claim\ to be owed.             To this extent,       the term no
                          11                                         I,         II
     5     carveouts is duplicative of the term full.                                 The term
          Q         II
     6     mutual means that each party releases the other
     7     party,        that Kayser releases Tagnetics of all
     8     obligations it owes him and Tagnetics releases

     9     Kayser of all obligations which Kayser owes to

    10     Tagnetics,           etc.   ~1't'irf(.~~    it would not resolve any
    II        issue of the Remaining Petitioning Creditors'
    12     equity interes~ if any.                    Nor would it release third
    13     parties not described in the July 26th emails,
    14        including, but not limited to Compass Marketing.
    15     At the evidentiary hearing Stern stated that
    16        releasing affiliates of a company was common in

    17        these types of agreements.                 While that may be true,
    18     if Compass was to be specifically included in the
    19        release it should have been made clear in the key
    20     terms that the release included other parties.
                                                                           r,
    21     This Court does not construe ... construe full mutual
                                              II
    22        releases,        no carveouts,       to include affiliates,
   23      parent corporations,              officers,      directors or other
   24      undisclosed third parties.                    Moreover,        the main
   25      exhibit concerning the affiliate status of Compass



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    I      was not admitted due to it being hearsay and no
    2      evidence was admitted as to the status of Compass
    3      and its relationship to Tagnetics.              The inclusion
    4      of the release in the prior agreements with the
                                         •
    5      early settling Petitiori~reditors is not
    6      sufficient,     even if an entity in which Kayser held
    7      an i~terest was a party to that prior settlement.
                1S                  I
    8      I t ~ not requir~that any settlement resolve all
    9      issues between parties or related parties or
   10      individuals)      6nly that there was a contractually
   II      enforceable settlement of key terms.
   12                   The Court now will describe a summary of
   13      the settlement analysis.           Although the settlement
   14      may not have resolved all disputes between
   15      Tagnetics and the Remaining Petitioning Creditors,
   16      by an objective standard a meeting of the minds
   17      occurred as to the payments to the Remaining
   18      Petitioning Creditors and a mutual release of any
   19      other obligations 'j.or damages.           The agreement did 11of
   20      address Compass or any affiliates, parent
   21      corporation,     officers,     directors or third parties.
   22      Nor did it cover equity interes~ of the Remaining
   23      Petitioning Creditors,         if any.     The parties either
   24      by reference to rejected offers which no longer
   25      have any legal effect or by draft settlement



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           agreements proposed after the agreement date of
    2      July 26th,       have attempted to expand the agreement
    3      beyond the pl~n meaning of its terms.                Thus,   the
    4      agreement was as the parties agreed to by email on
    5      July 26th,       2019.    Paymenig of $30,000 to each
    6      Petitioning Creditor within three days of a fully
    7      executed agreemen~         ,4s   the parties did not enter a
    8      formal settlement agreement but had agreed on
    9      essential terms of payment,            the $30,000 shall be
   10      paid within three business days of the entry of the
   II      order enforcing the settlement.              Another $30,000
   12      each shall be paid to each of the Remaining
   13      Petitioning Creditors after twelve months and a
   14      third payment after eighteen months.               The balance
   15      of the payments due to the Remaining Petitioning
   16      Creditors shall be paid upon the next liquidity
   17      event as follows:          $96,980 to Ron Earley;        $61,582
   18      to Ken Kayser and $58,144 to Jon Hager.               The parties
   19      agree as to the definition of a liquidity event
   20      and,   therefore,        liquidity event is to be defined as
   21      meaning    (a)    when one person or entity directly or
   22      indirectly becomes the beneficial owner of more
   23      than 50% of the outstanding securities of
   24      Tagnetics,       provided that the one person or entity
   25      does not directly or indirectly own more than 50%



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    1      of the outstanding securities of Tagnetics on the
    2      date of the agreement becomes valid)                (b)    The
    3      consummation of a merger,          sale or consolidation of
    4      Tagnetics with or to another company;'               (c)    A sale
    5      of substantially all of the assets of Tagneticsi
    6      ~r,   (d)   Completion of a plan to liquidate,              dissolve
    7      or wind up Tagnetics that was approved by
    8      Tagnetics'     shareholders or board of directors.               The
    9      parties mutually released any obligations to each
   10      other as to the salary, benefits,             loans or other
   11      similar obligations owed to the Remaining
   12      Petitioning Creditors.          The agreement does not
   13      address any equity interests of the Remaining
   14      Petitioning Creditors.         It also does not release any
   15      third party obligations,          including but not excluded
   16      to Compass Marketing.          Absent specific reference to
   17      such matters that had not occurred as of July 26th,
   18      the release of a stranger to a settlement is not
   19      ordinary,     nor would ownership interest in a
   20      corporate entity be finalized by a general release.
   21      Finally,     upon payment of the initial $30,000 to
   22      each of the remaining petitioning creditors,
   23      Tagnetics shall file a notice of payment with the
   24      Court and serve by email such notice on each of the
   25      Petitioning Creditors.           Upon this filing the Court



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           will wait 24 hours and then it shall dismiss the
     2     complaint against or the involuntarily petition
     3     against Tagnetics to commence an involuntary
     4     proceeding.
     5                    The Court will now discuss the issue of
     6     attorney fees.        Having determined that the
     7     settlement motion is to be enforced,              the remaining
                                                                                  I
     8     issue is whether this Court should grant Tagnetics
     9      request for attorney fees.           Ohio law allows such
    10     fees when a party prevails on a Motion to Enforce
    II     Settlement,       regardless of whether an exception to
    12      the American rule applies and regardless of whether
    13     bad faith exists.         The award is compensatory
    14     damages for the cost of such additional litigation.
    15     See Rohrer from the Sixth Circuit and the U.S.
    16      District Court decision in Wilson               both
                                                    1
    17     interpreting Ohio law.          Accordingly,      Tagnetics
    18     shall have fourteen days from the date the order on
    19      this oral decision is entered to file an
    20     Application for Attorney Fees as compensatory
    21     damages.        Tagnetics must file and serve by
    22      22cla, ..   b; email each of the Petitioning Creditors.
    23     The Petitioning Creditors will have fourteen days
   24      from the filing of such application to respond •• • te
    25     resp Hd.        Having determined that attorney fees are



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    1      proper,    the sole issue for the Court to determine
    2      is the reasonableness and appropriateness of the
    3      fees sought.       Upon any applications and responses
    4      the Court will take the matter of attorney fees
    5      under advisement.
    6                    In conclusion,      for these reasons the
    7      Court will enter an order which provides in
    8      accordance with the Court's oral decision the
    9      settlement agreement agreed to on July 26th,                  2019
   10      shall be enforced. The order shall,              consistent with
   II      this oral decision,         provide the ~ e t e r s of the
   12      parties'     settlement.
   13                    Thank you.
   14
   15                               (Off the record)

   16

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    I                             C E R T I     F I   C A T E
    2      STATE OF OHIO
    3                                  ss
    4      COUNTY OF CLERMONT
    5
    6                    I,   Cindy Elaine Meguire,          transcriptionist
    7      and notary public, do hereby certify that the
    8      foregoing was transcribed from an audio recording by
    9      me,   and that the same is true and correct in all
   10      respects as transcribed from said audio recording.
   11                    I further certify that I am not counsel,
   12      attorney,      relative or employee of any of the parties
   13      hereto,     or in any way interested in the within
   14      action.
   15                    IN WITNESS WHEREOF,          I have hereunto set my
   16      hand on this 19th day of November,                 2019.
   17
   18                                          sis Cindy Elaine Meguire
   19
   20
   21      My Commission Expires:                     Cindy Elaine Meguire
   22      May 3,    2024                     Notary Public-State of Ohio
   23
   24
   25



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